       Case 2:11-cr-00427-TLN Document 146 Filed 12/19/13 Page 1 of 3


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     Assistant Federal Defender
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4    Sacramento, CA 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ANGELA SHAVLOVSKY
7
                                        IN THE UNITED STATES DISTRICT COURT
8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                        )   Case No. 11-cr-427 LKK
                                                      )
11                                Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                      )   STATUS CONFERENCE AND EXCLUDE
12           v.                                       )   TIME
                                                      )
13   VALERI MYSIN, et al.,                            )   Date: March 18, 2014
                                                      )   Time: 9:15 a.m.
14                                Defendants.         )   Judge: Honorable Lawrence K. Karlton
                                                      )
15
16
              It is hereby stipulated and agreed to between the United States of America through, LEE
17
     BICKLEY, Assistant U.S. Attorney, defendant, ANGELA SHAVLOVSKY by and through her
18
     counsel, MATTHEW M. SCOBLE, Assistant Federal Defender, JOHN DUREE JR., attorney for
19
     VALERI MYSIN, DINA SANTOS, attorney for MICHAEL KENNEDY, JOSEPH WISEMAN,
20
     attorney for ALEXANDER KOKHANETS, JULIA YOUNG, attorney for BORIS MURZAK,
21
     and attorney for ZINAIDA MURZAK, and JOHN BALAZS, attorney for VITALIY TUZMAN,
22
     that the status conference set for Tuesday, December 17, 2013, be continued to Tuesday, March
23   18, 2014, at 9:15 a.m.
24            The reason for this continuance is to allow defense counsel additional time to review
25   discovery with the defendants, to examine possible defenses and to continue investigating the
26   facts of the case.
27            The parties agree that the requested continuance is necessary to provide defense counsel
28   reasonable time necessary for effective preparation, taking into account the exercise of due

       Stipulation & [Proposed] Order                     -1-                      US v. Mysin, et al., 11-cr-427 LKK
      Case 2:11-cr-00427-TLN Document 146 Filed 12/19/13 Page 2 of 3


1    diligence. The parties agree that the ends of justice to be served by a continuance outweigh the
2    best interests of the public and the defendants in a speedy trial, and they ask the Court to exclude
3    time within which the trial of this matter must be commenced under the Speedy Trial Act from

4    the date of this stipulation, December 12, 2013, through March 18, 2014, pursuant to 18 U.S.C. §

5    3161(h)(7)(A) and (B)(iv) and Local Code T4, pertaining to reasonable time for defense

6    preparation.

7    DATED: December 12, 2013                      HEATHER E. WILLIAMS
                                                   Federal Defender
8
9
                                                   /s/ Matthew M. Scoble
10                                                 MATTHEW M. SCOBLE
                                                   Assistant Federal Defender
11                                                 Attorney for JAVIER DIMAS-ALCANTARA
12
                                                   /s/ Matthew M. Scoble for
13                                                 JOHN DUREE JR.
                                                   Attorney for VALERI MYSIN
14
                                                   s/ Matthew M. Scoble for
15
                                                   JOSEPH WISEMAN
16                                                 Attorney for ALEXANDER KOKHANETS

17                                                 /s/ Matthew M. Scoble for
                                                   DINA SANTOS
18                                                 Attorney for MICHAEL KENNEDY
19
                                                   /s/ Matthew M. Scoble for
20                                                 JULIA YOUNG
                                                   Attorney for BORIS MURZAK
21
                                                   /s/ Matthew M. Scoble for
22                                                 JULIA YOUNG
23                                                 Attorney for ZINAIDA MURZAK

24                                                 /s/ Matthew M. Scoble for
                                                   JOHN BALAZS
25                                                 Attorney for VITALIY TUZMAN
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      Stipulation & [Proposed] Order                 -2-                        US v. Mysin, et al., 11-cr-427 LKK
      Case 2:11-cr-00427-TLN Document 146 Filed 12/19/13 Page 3 of 3


1    Dated: December 12, 2013                      BENJAMIN B. WAGNER
                                                   United States Attorney
2
3
                                                   /s/ Matthew M. Scoble for
4                                                  LEE BICKLEY
                                                   Assistant U.S. Attorney
5
                                                  ORDER
6
7            The Court having received, read, and considered the stipulation of the parties and good

8    cause appearing therefrom, the Court adopts the parties' stipulation as its order in its entirety. It

9    is ordered that the status conference presently set for December 17, 2013, be continued to March

10   18, 2014, at 9:15 a.m. The Court hereby finds that the requested continuance is necessary to

11   provide defense counsel reasonable time necessary for effective preparation, taking into account

12   the exercise of due diligence. The Court finds the ends of justice to be served by granting a

13   continuance outweigh the best interests of the public and the defendants in a speedy trial.

14           It is ordered that time from the date of the parties’ stipulation, December 12, 2013, up to

15   and including, the March 18, 2014, status conference shall be excluded from computation of time

16   within which the trial of this matter must be commenced under the Speedy Trial Act pursuant to

17   18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense counsel reasonable

18   time to prepare).

19   IT IS SO ORDERED.

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     Dated: December 17, 2013
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      Stipulation & [Proposed] Order                  -3-                        US v. Mysin, et al., 11-cr-427 LKK
